          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                         CRIMINAL NO. 1:02CR105


UNITED STATES OF AMERICA                 )
                                         )
                                         )
                 VS.                     )           ORDER
                                         )
                                         )
STEPHANIE MICHELLE SHIPMAN               )
                                         )


     THIS MATTER is before the Court sua sponte for reissuance of its

pervious Order, filed April 17, 2008, granting in part the Government’s

motion to extend time to file response to the Defendant’s motion for

reduction of sentence.

     On review of the electronic docket herein, it appears the Government

was not served with the earlier Order. Therefore, the Order must be

reissued and the Government afforded additional time to respond to the

Defendant’s motion herein.

     IT IS, THEREFORE, ORDERED that the Government’s motion is

ALLOWED, and the Government has to and including MAY 5, 2008, in

which to file response to the Defendant’s motion for reduction of sentence.




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     The Clerk is directed to correct the electronic record to ensure

service of this order on the United States Attorney.


                                      Signed: April 29, 2008




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